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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE: 1:24-cv-20547-CMA

  CARLOS BRITO,

            Plaintiff,
  v.

  CHOPIN, LLC, and THE FANCY
  GOOSE GROUP LLC d/b/a LA
  FRESA FRANCESA,

            Defendants.
  _________________________________________________/


                                JOINT NOTICE OF SETTLEMENT

          Plaintiff, CARLOS BRITO, and Defendants, CHOPIN, LLC and THE FANCY GOOSE

  GROUP LLC, hereby advise the Court that the parties have reached an agreement in principle to

  settle the instant case. The Parties will file a Stipulation dismissing this Action with prejudice no

  later than ten (10) days from the date of this Notice. Accordingly, the Parties, respectfully request

  that the Court vacate all currently set dates and deadlines in this case.

  Respectfully submitted this May 3, 2024.


   /s/ Beverly Virues                                  By: /s/ Alexander F. Fox
   BEVERLY VIRUES                                      Alexander F. Fox
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                                                       Florida Bar No. 036423

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

  by using the CM/ECF system. I further certify a copy of the foregoing was sent by CM/ECF to

  all counsel of record on this May 3, 2024.

                                                    Respectfully submitted,


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                                                    By: ___/s/_Beverly Virues________
                                                           BEVERLY VIRUES




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